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                EXHIBIT 8




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Chief Judge Beryl A. Howell
United States District Court
District of Columbia
333 Constitution Avenue, N.W.
Washington, D.C. 20001


Dear Chief Judge Howell,
I am Heather Morgan’s dad and I strongly hope that you decide she does not need to be incarcerated in a
federal facility as her case moves through the legal system. I know that she is not a flight risk. At the prior
bail hearing in New York, Judge Freeman asked if my wife and I had the confidence to risk losing the house
we own and have lived in for 25 years as a surety that Heather would appear in court. We agreed to do so
as we don’t see a risk. Heather is both too emotionally connected here and too smart to run away and risk
not being able to see friends and family.
She has always loved the idea of visiting foreign places and has been blessed with the ability to quickly
learn other languages, but she also loves returning home. She took Japanese classes while she was in
high school, including at our local university and greatly enjoyed time in Japan as a high school exchange
student. After high school she went on to the University of California Davis and graduated in 3 years with a
double major in Economics and International Relations. While a student at UC Davis, she attended summer
school in South Korea and then a fall semester in Turkey. After graduating Davis, she lived in Hong Kong,
Turkey and Egypt and she has many great stories and memories of these experiences, but she has always
returned to the United States and her family because she truly cares about us and we enjoy doing things
together.
Heather and I share a love of nature and there are many memories we’ve made together; from hiking and
camping in the mountains to kayaking on the California coast or down the Sacramento River and we plan to
do those things again to make more happy memories. Before Covid descended on us and put our plans on
hold, we had planned trips to see fall colors on the East Coast, and the highlights of the Sonoran Desert of
the Southwest. I can’t believe that she’d risk not being able to do those things with her mother and me. We
normally talk and message each other multiple times per week and provide each other emotional support
during rocky patches in our lives. Heather came home to spend time with my wife while she was being
treated for breast cancer a few years ago and we went to New York to support Heather when she had her
recent breast surgery.
Heather is not a flight risk because she has so many strong emotional ties here. These ties also include a
young Bengal cat named Clarissa and Heather wouldn’t abandon that cat. This may not be understandable
to people who haven’t seen her affection for Clarissa, or simply don’t bond with animals, but it is true.
Another strong anchor for her to the United States is her emotional connection to her cryogenically stored
embryos. Those stored embryos currently don’t fit the traditional picture many people have when they think
about their children or grandchildren. However, those embryos are a core part of the future Heather and
her husband have planned for themselves. I’m looking forward to meeting my grandchildren when they’re a
little biologically older. I simply don’t believe Heather would abandon them.
I know Heather well and she is not a flight risk.
Sincerely,
/s/ Lee M. Morgan
